Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17   Page 1 of 28 PageID 6




     Exhibit "A"
Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17          Page 2 of 28 PageID 7


                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

VIRGINIA GUADALUPE PORTILLO, §
     Plaintiff,              §
                                           §
v.                                         §    CIVIL ACTION NO. _ _ _ _ __
                                           §
WAYNE JONES AND GUNTREN                    §
TRUCKING L.L.C.,                           §
    Defendants.                            §

                        INDEX OF STATE COURT FILE


EXHIBIT    FILED        DOCUMENT
  A                     State Court File

     A-I   09/0712017   Docket Sheet

     A-2   09/07/2017   Plaintiffs Original Petition and Request for Disclosure

     A-3   09/07/2017   Citation for Wayne Jones

     A-4   09/07/2017   Citation for Guntren Trucking LLC

     A-5   1010312017   Plaintiff s First Amended Petition and Request for Disclosure

     A-6   1011912017   Return of Service for Wayne Jones




1990366
185/818
   Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17                                   Page 3 of 28 PageID 8
                                          FELICIA PITRE, DISTRICT CLERK

                                            DOCKET SHEET
                                            CASE NO. DC-17-11647
 VIRGINIA GUADALUPE PORTILLO                              §                          Location: 134th Distdct Court
 vs.                                                      §                   Judicial Officer: TILLERY, DALE
 WA YNE JONES, et al                                      §                           Filed on: 09/07/2017
                                                          §

                                                  C\SE INFOHMATION


                                                                                               MOTOR VEHICLE
                                                                                    Case Type: ACCIDENT


                                                  PARIY iNFORAHTION

                                                                                                     Lead Attorneys
PLAINTIFF         PORTILLO, VIRGINIA GUADALUPE                                                HORNUNG, PAUL ROBERT
                       400 S. ZANG BLVD STE 600                                                                      Retained
                       DALLAS, TX 75208                                                                    214-941-8300(W)

DEFENDANT         GUNTREN TRUCKING L.L.c.
                       BY SERVING ITS REGISTERED AGENT FA Y ANDERSON
                       317 8TH STSW
                       ORANGE CITY, IA 51041
                  JONES, WAYNE
                    314 W. 23rd ST
                       SOUTH SIOUX, NE 68776

                                          EVENTS & ORDERS     or· 'I'm: COlli,,!,

 09/0712017   NEW CASE FILED (OCA) - CIVIL

 09/0712017    "t!l ORIGINAL PETITION

 09/07/2017   ISSUE CITATION

 0911112017   CITATION
                "t!lJONES, WAYNE
               Served: 10111/2017
               GUNTREN TRUCKING L.L.C.
               Unserved
              ESERVEICM

 09/1112017       CITATION ISSUED


 1010312017    "t!l AMENDED PETITION
                  Party: PLAINTIFF PORTILLO, VIRGINIA GUADALUPE
                 1ST

 10/2012017    "t!lRETURN OF SERVICE
                 CITATION EXECUTED WA YNE JONES


 11110/2017    "t!l DISMISSAL FOR WANT OF PROSECUTION (10:00 AM) (Judicial
              Officer: TILLERY, DALE)
       DATE

              PLAINTIFF PORTILLO, VIRGINIA GUADALUPE
              Total Charges                                                                                           308.00
              Total Payments and Credits                                                                              308.00
              Balance Due as of 1112/2017                                                                               0.00



                                                      PAGE 1 OF2                                          Printed on //10212017 a/3:29 PM
Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17                      Page 4 of 28 PageID 9
                                     FELICIA PITRE, DISTRICT CLERK

                                       DOCKET SHEET
                                      CASE No. DC-17-11647
09/08/2017   Charge                                        PLAINTIFF PORTILLO, VIRGINIA             308.00
                                                           GUADALUPE
09/08/2017   CREDIT CARD - Receipt # 58080-2017-DCLK       PLAINTIFF PORTILLO, VIRGINIA            (308.00)
             TEXFILE (DC)                                  GUADALUPE




                                               PAGE20F2                                   Printed on 1110212017 at 3:29 PM
                                                                                                                      FILED
 Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17                       Page 5 of 28 PageID 10             DALLAS COUNTY
                                                                                                            9/7/20173:46 PM
                                                                                                              FELICIA PITRE
2 CT-E-SERVE                                                                                               DISTRICT CLERK

                                                                                                 Freeney Anita
                                   DC-17-11647
                         CAUSE NO. ___
 VIRGINIA GUADALUPE PORTILLO      §    IN THE DISTRICT COURT
          Plaintiffs                                       §
 VB.                                                       i3-134 TH JUDICIAL DISTRICT
                                                           §   -,-
 WAYNE JONES                AND       GUNTREN              §
 TRUCKlNG L.L.C.                                           §
          Defendants.                                      §   DALLAS COUNTY, TEXAS


          rLAINTJFF'S (2lUjimAltfEIITIQ.N AND REQUEST FOR DIS~QSllB!lt
 TO THE HONORABLE JUDGE OF SAID COURT:

          COMES NOW VIRGINIA GUADALUPE PORTILLO, ("Plaintiff'), complaining of and

 against WAYNE JONES AND GUNTREN TRUCKING LLC eDefendants"). and would

 respectfUlly show unto the Court as follows:

                                                    L
                                   DISCOVEliY ~ONl'lU)l(fLAN

          Plaintiffwill submit this action under Discovery Control Plan Level ill, per Rule 190.4 of

 the Texas Rules of Civil Procedure.

                                                   lL..
                                                REIJEl
          Plaintiff's seeks monetary relief over $1,000,000.

                                                   DL..
                                           JURISDICTION

          This Court has jurisdiction as Plaintiff's damages are within the jurisdictiona11imits of this

 Court.

                                                   lli..
                                                VENUE

          Allor a substantial part of the events giving rise to this claim occurred in Dallas County,

                                                                                                   Pagel
Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17                      Page 6 of 28 PageID 11




therefore Venue is proper in Dallas County pursuant to C.P.R.C. § 15.002(a)(1) and § 15.005.




        Plaintiffs are individual domiciled in Dallas County, Texas.

        Defendant, WAYNE JONES ("JONES 't), is an individual who maybe served with process

at his residence, at 314 W. 23 RD ST. SOurR SIOUX CITY NE, 68776 or wherever defendant may

be found. Pursuant to Section 17.062 of the Civil Practice and Remedies Code, Tryon D. Lewis,

Chairman, Texas Transportation Commission, 125 E. 11th Street, Austin, Texas 78701-2483 will

forward the citation to WAYNE JONES ("JONES"), at his residence, 314 W. 23 RD ST. SOUTH



       Defendant, GUNTREN TRUCKING L.L.C. ("GUNTREN"), is an Iowa Corporation

that committed a tortuous act in Texas that maybe served process through it's registered agent

FAY ANDERSON at 317 8nI ST. SW, ORANGE CI1Y, IA 51041 or wherever defendant may




                                                 YL
                                         JURy DEMAND

       Plaintiff respectfully requests that a jury be convened to try the factual issues of this case.
                                                YJL..
                                      CAUSE OF ACTION

       On or about April 22, 2016, Plaintiff was traveling on the connector ramp from Eastbound

ill 30 to Northbound IH-35 in Dallas County Texas. Defendant JONES was traveling on the

connector ramp from Eastbound ill 30 to Northbound IH-35 in Dallas County Texas. Defendant

JONES failed to maintain a proper outlook and caused a collision with Plaintiffs vehicle. Thus,


                                                                                                 Plae2
Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17                      Page 7 of 28 PageID 12




Defendant JONES failed to use the ordinary care that a person of ordinary prudence should have

used under the same or similar circumstances and such failure proximately caused Plaintiff's injuries

and damages. Plaintiff asserts claims and causes of action arising from Defendant's negligence and

seeks recovery of his damages from Defendant.

        At all relevant times the vehicle driven by Defendant JONES was owned by Defendant

GUNTREN. At all relevant times Defendant JONES was under the direction and scope of

employment with Defendant GUNTREN.

                                                YIIL.
                             DEEEN1!ANTJQHE~.0'EGLIGENCE

       Defendant JONES'S conduct was the proximate cause of Plaintiff sustaining personal

injuries in that said Defendant JONES'S acts or omissions constituted negligence, negligence per

se and/or gross negligence in following acts, to wit:

       a.      In failing to keep such a look out as a person of ordinary prudence would have kept
               under similar circumstances;
       b.      In failing to apply the brakes to the vehicle in order to avoid the collision;
       c.      In failing to turn the direction of the vehicle away from the Plaintiff's, in order to
               avoid the accident;
       d.      In failing to control the speed of the vehicle and/or in driving at a speed greater than
               is reasonable and prudent under the circumstances then existing in violation ofTexas
               Transportation Code § 545.351;
       e.      In failing to identify, predict, decide and execute evasive maneuvers appropriately in
               order to avoid collision;
       f.      In causing an accident involving personal injuries or death in violation of Texas
               Transportation Code § 550.021;
       g.      In failing to act as a reasonably prudent person would have under the same or similar
               circumstances;
       h       In failing to sound hom or warn Plaintiff prior to the accident;

                                                                                                 Page 3
Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17                       Page 8 of 28 PageID 13




        i.      In driving recklessly, in violation of Texas Transportation Code § 545.401;

        j.      In failing to act as a reasonably prudent person would have under the same or similar
                circumstances;
        k.      In violating several other sections of the Texas Transportation Code.

        Each of the above acts and omissions, singularly or in combination with each other, was a

proximate cause of Plaintiff sustaining injuries and damages that are described below. As a result,

Plaintiff's cause of action arises out of a basis oflaw, thus entitling Plaintiff to the relief sought.

                                                      IX.
                    DEFEl'mANLG~N,~~tNEGLIGENT ENTRUSl:MEliI

        Defendant GUNTREN negligently entrusted its vehicle to JONES, who was an unfit or

incompetent driver. Defendants GUNmEN owned the vehicle involved in the collision in question

and knew, or should have known that JONES was unfit or incompetent to drive. GUNTREN'S

negligent entrustment of its vehicle is a proximate cause of the collision in question and Plaintiff's

injuries and damages. Therefore, Plaintiffasserts a cause ofaction for negligent entrustment and hire

against Defendant GUNTREN.

                                                      ~
             ~GLIGENT.      HIRING, TRAINING, SUPERVISIQN,ANItRETltNTIQN BY
                                    DEFENDANT GUNmEN.
       Still further, Defendant GUNTREN failed to use the ordinary care that a prudent person

should have used under the same or similar circumstances in hiring, training, supervising and

rctaining Defendant JONES. Such failures constituted negligence and were proximate causes ofthe

incident in question and Plaintiffs injuries and damages. Plaintiff asserts herein claims and causes

of action based on Defendant GUNTREN'S negligent hiring, supervision and retention.


                                             XL.
                                    YICi\RIOUS LIABILITY

                                                                                                   Pa,e4
Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17                       Page 9 of 28 PageID 14




        At the time of the incidents described above, JONES was acting in the course and scope of

his employment with Defendant GUNTREN, and it is Plaintiff's information and belief, that the

vehicle driven by Defendant JONES was owned by Defendant GUNTREN. As a result, Defendant

GUNTREN is vicariously liable for the JONES'S general, per se, and gross negligence under the

doctrine of respondeat superior. Plaintiffalleges that all ofthese damages, as well as the occurrence

made the basis of this action, were proximately caused solely by Defendant's conduct, and that

Defendant is liable for Plaintiff's damages.

                                                 XIL..
                                    EXEMPLARY DAMAG~.s

        Plaintiffs injuries resulted from Defendants gross negligence, which entitles Plaintiff to

exemplary damages under Tex. Civ. P. & Rem. Code § 41.oo3(a). At the time of the occurrence in

question, Defendant driver's inattentive driving, failure to control the vehicle speed, coupled with

Defendant driver's disregard for basic rules of the road, constituted gross negligence in that such acts

andlor omissions, when viewed from Defendant's standpoint, involved an extreme degree of risk to

drivers and travelers in Dallas County roads, including the risk of severe bodily injury and death to

the public, and Plaintiff. Moreover, Defendants had actual awareness that the above acts andlor

omissions were increasingly probable due to Defendant's inattention. Nonetheless, and despite

Defendant's actual subjective awareness ofthe risk his grossly negligent driving imposed upon other

drivers, travelers and the public in general, Defendant proceeded to drive in such grossly negligent

manner with in conscious and blunt disregard to the rights, safety and welfare of others.

Consequently, Plaintiffseeks exemplary damages and hereby gives notice to Defendants that he will

seek to prove the above allegations by clear and convincing evidence.


                                                                                                  PlgeS
Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17                     Page 10 of 28 PageID 15




        As a direct and proximate result ofthe negligent conduct ofDefendants, PlaintiffVICTORIA

RODRIGUEZ suffered severe and disabling injuries to her head, faccJ neck, back, right shoulder,

tricep, and left foreamt. Plaintiffhas suffered injuries and specifically sues for the following legal

damages:

        a.     Medical ex.penses in the past and future in excess of$41,828.09; and

        b.     Physical pain in the past and future; and

        c.     Mental anguish in the past and future; and

        d.     Physical impairment in the past and future; and

        e.     Past and future disfigurement; and

        f.     Lost wageslloss of earning capacity in the past and future; and

       g.      Special damages; and

       h.      Property damage and Loss of use

                                                ~
             J~L.AJNTIFF'S REQUE.S.I".IURDISCLOSURES 'fQJ1EEE~ANT
       Plaintiffrequests that Defendant disclose the information and material described in TEX, R.

ClY. P. 194.2 (a) - (1). In addition to the materials requested in TEX. R. CN. P. 194.2, Plaintiff

requests that Defendants disclose all documents, electronic information, and tangible items that are

in Defendants possession, custody, or control and may use to support its clai:ms or defenses.

Defendants responses shall be delivered to Plaintiff's attorney of record at 400 S. Zang Boulevard,

(j1h Floor, Suite 600, Dallas, Texas 75208 within fifty (50) days from the date of service hereof.

Plaintiff also requests that Defendants supplement responses to this Request for Disclosure, as

                                                                                                Page 6
Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17                     Page 11 of 28 PageID 16




provided by TEX. R. CN. P. 192, 193, and 194.

                                                 XYt
                               NotU]tQFllSE_QJIJ)OCUMENTS

        Pursuant to Texas Ru1es of Civil Procedure 166a(d) and 193.7, Plaintiff hereby gives notice

to Defendants that she intends to use all discovery products, responses, and documents exchanged

and produced between the parties as summary judgment evidence, in any pretrial proceeding, and/or

at trial in this cause.

                                                XYL-
                                              PRAYER

    WHEREFORE, PREMISES CONSIDERED, PlaintiffrespectfuUyprays that the Defendants be

cited to appear and answer herein, and that upon final trial, Plaintiffbe awarded judgment against

the Defendants for the following:

        a.       Medical expenses in the past and future; and

        b.       Physical pain and suffering in the past and future; and

        c.       Mental anguish in the past and future; and

        d.       Physical impainnent in the past and future; and

        e.      Property damage; and

        f.       Lost wages and loss of earning capacity in the past and future; and

        g.       Pre and post Judgment interest at the maximum legal rate; and

        h.       Costs of Court; and

        i.      Such other and further relief, at law or in equity, to which Intervenors may be justly

                entitled.

                                       Respectfully Submitted,

                                                                                                Page 7
Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17    Page 12 of 28 PageID 17




                             400 S. Zang Blvd.
                             6th Floor Suite 600
                             Dallas, Texas 75208
                             Telephone: (214) 941-8300
                             Facsimile: (214) 943-7536
                             ATTORNEYS FORPLAmTDFS




                                                                       PageS
                   Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17                         Page 13 of 28 PageID 18




FORM NO. 353-3 - CITATION                                                                                           ESERVE
THE STATE OF TEXAS                                                                                                 CITATION
To:
       WAYNE JONES
                                                                                                                  DC-17-11647
       314 W 23rd ST
       SOUTH SIOUX NE 68776
                                                                                                         VIRGINIA GUADALUPE PORTILLO
GREETINGS:
                                                                                                                      vs.
You have been sued. You may employ an attorney. If you or your attorney do not file a written
                                                                                                               WAYNE JONES, et al
ans:ver. with the clerk who issued this citation by 10 o'clock a.m. ofthe Monday next following the
expIratIOn of twenty days after you were served this citation and petition, a default judgment may be
taken against you. Your answer should be addressed to the clerk of the 134th District Court at 600
                                                                                                                   ISSUED THIS
Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                            11th day of September, 2017
Said Plaintiff being VIRGINIA GUADALUPE PORTILLO
                                                                                                                 FELICIA PITRE
                                                                                                               Clerk District Courts,
Filed in said Court 7th day of September, 2017 against
                                                                                                               Dallas County, Texas
WAYNE JONES AND GUNTREN TRUCKING LLC
                                                                                                          By: CARMEN MOORER, Deputy
For Suit, said suit being numbered DC-17-11647, the nature of which demand is as follows:
Suit on MOTOR VEHICLE ACCIDENT etc. as shown on said petition REQUEST FOR
DISCLOSURE, a copy of which accompanies this citation. If this citation is not served, it shall be
                                                                                                              Attorney for Plaintiff
returned unexecuted.
                                                                                                            PAUL ROBERT HORNUNG
                                                                                                        LAW OFFICES OF DOMINGO GARCIA
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.
                                                                                                               400 S ZANG BLVD
Given under my hand and the Seal of said Court at office this lith day of September'J~h1t
                                                                                  ,,\                              SUITE 600
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Tex~                                    DALLAS TX 75208
                                                                                                                  214-941-8300
                        By     lsi Carmen Moorer                     , Deputy   ff~ {                     DALLASOFFICE@DGLEY.COM
                              CARMEN MOORER

                                                                                                            DALLAS COUNTY
                                                                                                             SERVICE FEES
                                                                                                               NOT PAID
                          Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17                                          Page 14 of 28 PageID 19




                                                                        OFFICER'S RETURN
CaseNo.: DC-17-11647

Court No.134th District Court

Style: VIRGINIA GUADALUPE PORTILLO

vs.

WAYNE JONES, et al
Came to hand on the                        day of _ _ _ _ _ _ _--', 20_ _ _---', at                     o'clock'---_ _ _.M. Executed at _ _ _ _ _ _ _ _ _ _ _ _-'

within the County of                                    at               o'clock           .M. on the                      day of_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _--'

20                     , by delivering to the within named




each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by

me in serving such process was                miles and my fees are as follows: To certifY which witness my hand.



                                For serving Citation          $,----
                                For mileage                   $,----                        of_ _ _ _ _ _ _County, _ _ _ _ _ _ __

                                 For Notary                   $,----                         By_____________________Deputy

                                                                (Must be verified if served outside the State of Texas.)
Signed and sworn to by the said,_ _ _ _ _ _ _ _ _ _ _before me this_ _ _day of _ _ _ _ _ _ _ _---', 20___---'

to certifY which witness my hand and seal of office.




                                                                                           Notary Public,_ _ _ _ _ _ _ _County_ _ _ _ _ __
                   Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17                             Page 15 of 28 PageID 20




FORM NO. 353-3 - CITATION                                                                                               ESERVE
THE STATE OF TEXAS                                                                                                     CITATION
To:
        GUNTREN TRUCKING LLC
                                                                                                                       DC-17-11647
        SERVE ITS REGISTERED AGENT FAY ANDERSON
        317 W 8TH ST
        ORANGE CITY, IA 51041
                                                                                                             VIRGINIA GUADALUPE PORTILLO
                                                                                                                          vs.
GREETINGS:
                                                                                                                   WAYNE JONES, et al
You have been sued. You may employ an attorney. If you or your attorney do not file a written
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be
taken against you. Your answer should be addressed to the clerk of the 134th District Court at 600                     ISSUED THIS
Commerce Street, Ste. 101, Dallas, Texas 75202.                                                                 11th day of September, 2017

                                                                                                                     FELICIA PITRE
Said Plaintiff being VIRGINIA GUADALUPE PORTILLO
                                                                                                                   Clerk District Courts,
                                                                                                                   Dallas County, Texas
Filed in said Court 7th day of September, 2017 against

WAYNE JONES AND GUNTREN TRUCKING LLC
                                                                                                              By: CARMEN MOORER, Deputy
For Suit, said suit being numbered DC-17-11647, the nature of which demand is as follows:
Suit on MOTOR VEHICLE ACCIDENT etc. as shown on said petition REQUEST FOR
DISCLOSURE, a copy of which accompanies this citation. If this citation is not served, it shall be                Attorney for Plaintiff
                                                                                                                PAUL ROBERT HORNUNG
returned unexecuted.
                                                                                                            LAW OFFICES OF DOMINGO GARCIA
                                                                                                                   400 S ZANG BLVD
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.
Given under my hand and the Seal of said Court at office this 11th day of September, 2017.                             SUITE 600
                                                                                                                   DALLAS TX 75208
                                                                                        ,\\\lm WHIt,
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Tex<l§0'\".,z,'             .                  214-941-8300
                                                                                 ~.        ,"".               DALLASOFFICE@DGLEY.COM
                                   /s/ Carmen Moorer                           .:::
                        By                                            , Deputy~
                              CARMEN MOORER                                  :: "-" :

                                                                                                              DALLAS COUNTY
                                                                                                               SERVICE FEES
                                                                                                                 NOT PAID
                         Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17                                            Page 16 of 28 PageID 21




                                                                         OFFICER'S RETURN
Case No.: DC-17-11647

Court No. 134th District Court

Style: VIRGINIA GUADALUPE PORTILLO

vs.

WAYNE JONES, et al

Came to hand on the _ _ _ _ _ _ _day of _ _ _ _ _ _ _--', 20_ _ _--', at _ _ _ _o'c\ock~_ _ _. M. Executed at _ _ _ _ _ _ _ _ _ _ _ _--'

within the County of                                     at _ _ _ _ _ o'c\ock               .M. on the _ _ _ _ _ _ _day of_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _---'

20                     , by delivering to the within named




each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by

me in serving such process was                 miles and my fees are as follows: To certifY which witness my hand.



                                 For serving Citation          $_---
                                 For mileage                   $_---                         of,__________County, __________

                                 For Notary                     $_---                         By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _Deputy

                                                                 (Must be verified if served outside the State of Texas.)
Signed and sworn to by the said._ _ _ _ _ _ _ _ _ _ _ _before me this_ _ _day of _ _ _ _ _ _ _ _-', 20_ _--'

to certify which witness my hand and seal of office.




                                                                                             Notary Public_________County_ _ _ _ _ __
                                                                                                                        FILED
Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17                       Page 17 of 28 PageID 22               DALLAS COUNTY
                                                                                                            10/3/201710:06 AM
                                                                                                                FELICIA PITRE
                                                                                                             DISTRICT CLERK



                        CAUSE NO. _ __
VIRGINIA GUADALUPE PORTILLO      §   IN THE DISTRICT COURT
     Plaintiffs                  §
vs.
                                                        §
                                                                     JUDICIAL DISTRICT
                                                        §
WAYNE JONES                 AND      GUNTREN            §
TRUCKING L.L.C.                                         §
    Defendants.                                         §    DALLAS COUNTY, TEXAS

      PLAINTIFF'S FIRST AMENDED PETITION AND REQUEST FOR DISCLOSURE

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW VIRGINIA GUADALUPE PORTILLO, ("Plaintiff'), complaining of and

against WAYNE JONES AND GUNTREN TRUCKING LLC ("Defendants"), and would

respectfully show unto the Court as follows:

                                             I.
                                  DISCOVERY CONTROL PLAN

         Plaintiff will submit this action under Discovery Control Plan Level III, per Rule 190.4 of

the Texas Rules of Civil Procedure.

                                                  11-
                                               RELIEF

         Plaintiffs seeks monetary relief over $1,000,000.

                                                III.
                                           JURISDICTION

         This Court has jurisdiction as Plaintiff's damages are within the jurisdictional limits of this

Court.

                                                 IV.
                                                VENUE

         All or a substantial part of the events giving rise to this claim occurred in Dallas County,

PLAINTIFF'S FIRST AMENDED PETITION AND REQUEST FOR D1SCLOSURE-PA                                   Page 1
Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17                     Page 18 of 28 PageID 23




therefore Venue is proper in Dallas County pursuant to C.P.R.C. § 15.002(a)(1) and § 15.005.

                                                 V.
                                             SERVICE

       Plaintiffs are individual domiciled in Dallas County, Texas.

       Defendant, WAYNE JONES ("JONES "), is an individual who may be served with process

at his residence, at 314 W. 23 RD ST. SOUTH SIOUX CITY NE, 68776 or wherever defendant may

be found. Pursuant to Section 17.062 of the Civil Practice and Remedies Code, Tryon D. Lewis,

Chairman, Texas Transportation Commission, 125 E. 11th Street, Austin, Texas 78701-2483 will

forward the citation to WAYNE JONES ("JONES "), at his residence, 314 W. 23 RD ST. SOUTH

SIOUX CITY NE, 68776. Issuance of citation is reguested at this time.

       Defendant, GUNTREN TRUCKING L.L.c. ("GUNTREN"), is an Iowa Corporation

that committed a tortuous act in Texas that may be served process through it's registered agent

FAY ANDERSON at 317 8TH ST. SW. ORANGE CITY, IA 51041 or wherever defendant may

be found. Issuance of citation is reguested at this time.


                                              VI.
                                         JURY DEMAND

       Plaintiff respectfully requests that a jury be convened to try the factual issues of this case.

                                            VII.
                                      CAUSE OF ACTION

       On or about April 22, 2016, Plaintiff was traveling on the connector ramp from Eastbound

IH 30 to Northbound IH-35 in Dallas County Texas. Defendant JONES was traveling on the

connector ramp from Eastbound IH 30 to Northbound IH-35 in Dallas County Texas. Defendant

JONES failed to maintain a proper outlook and caused a collision with Plaintiffs vehicle. Thus,


PLAINTIFF'S FIRST AMENDED PETITION AND REQUEST FOR DISCLOSURE-PA                                 Page 2
Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17                     Page 19 of 28 PageID 24




Defendant JONES failed to use the ordinary care that a person of ordinary prudence should have

used under the same or similar circumstances and such failure proximately caused Plaintiff s injuries

and damages. Plaintiff asserts claims and causes of action arising from Defendant's negligence and

seeks recovery of his damages from Defendant.

       At all relevant times the vehicle driven by Defendant JONES was owned by Defendant

GUNTREN. At all relevant times Defendant JONES was under the direction and scope of

employment with Defendant GUNTREN.

                                                VIII.
                             DEFENDANT JONES NEGLIGENCE

       Defendant JONES'S conduct was the proximate cause of Plaintiff sustaining personal

injuries in that said Defendant JONES'S acts or omissions constituted negligence, negligence per

se and/or gross negligence in following acts, to wit:


       a.      In failing to keep such a look out as a person of ordinary prudence would have kept
               under similar circumstances;

       b.      In failing to apply the brakes to the vehicle in order to avoid the collision;

       c.      In failing to turn the direction of the vehicle away from the Plaintiffs, in order to
               avoid the accident;

       d.      In failing to control the speed of the vehicle and/or in driving at a speed greater than
               is reasonable and prudent under the circumstances then existing in violation of Texas
               Transportation Code § 545.351;

       e.      In failing to identify, predict, decide and execute evasive maneuvers appropriately in
               order to avoid collision;

       f.      In causing an accident involving personal injuries or death in violation of Texas
               Transportation Code § 550.021;

       g.      In failing to act as a reasonably prudent person would have under the same or similar
               circumstances;

       h       In failing to sound horn or warn Plaintiff prior to the accident;

PLAINTIFF'S FIRST AMENDED PETITION AND REQUEST FOR D1SCLOSURE-PA                                  Page 3
Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17                       Page 20 of 28 PageID 25




        i.      In driving recklessly, in violation of Texas Transportation Code § 545.401;

       j.       In failing to act as a reasonably prudent person would have under the same or similar
                circumstances;

        k.      In violating several other sections of the Texas Transportation Code.

         Each of the above acts and omissions, singularly or in combination with each other, was a

proximate cause of Plaintiff sustaining injuries and damages that are described below. As a result,

Plaintiffs cause of action arises out of a basis of law, thus entitling Plaintiff to the relief sought.

                                        IX.
                    DEFENDANT GUNTREN'S NEGLIGENT ENTRUSTMENT

        Defendant GUNTREN negligently entrusted its vehicle to JONES, who was an unfit or

incompetent driver. Defendants GUNTREN owned the vehicle involved in the collision in question

and knew, or should have known that JONES was unfit or incompetent to drive. GUNTREN'S

negligent entrustment of its vehicle is a proximate cause of the collision in question and Plaintiff s

injuries and damages. Therefore, Plaintiff asserts a cause of action for negligent entrustment and hire

against Defendant GUNTREN.

                                         X.
             NEGLIGENT, HIRING, TRAINING, SUPERVISION, AND RETENTION BY
                             DEFENDANT GUNTREN

       Still further, Defendant GUNTREN failed to use the ordinary care that a prudent person

should have used under the same or similar circumstances in hiring, training, supervising and

retaining Defendant JONES. Such failures constituted negligence and were proximate causes ofthe

incident in question and Plaintiffs injuries and damages. Plaintiff asserts herein claims and causes

of action based on Defendant GUNTREN'S negligent hiring, supervision and retention.


                                            XI.
                                    VICARIOUS LIABILITY

PLAINTIFF'S FIRST AMENDED PETITION AND REQUEST FOR DISCLOSURE-PA                                   Page 4
Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17                      Page 21 of 28 PageID 26




        At the time of the incidents described above, JONES was acting in the course and scope of

his employment with Defendant GUNTREN, and it is Plaintiff's information and belief, that the

vehicle driven by Defendant JONES was owned by Defendant GUNTREN. As a result, Defendant

GUNTREN is vicariously liable for the JONES'S general, per se, and gross negligence under the

doctrine of respondeat superior. Plaintiff alleges that all of these damages, as well as the occurrence

made the basis of this action, were proximately caused solely by Defendant's conduct, and that

Defendant is liable for Plaintiff's damages.

                                           XII.
                                    EXEMPLARY DAMAGES

        Plaintiff's injuries resulted from Defendants gross negligence, which entitles Plaintiff to

exemplary damages under Tex. Civ. P. & Rem. Code § 41.003(a). At the time of the occurrence in

question, Defendant driver's inattentive driving, failure to control the vehicle speed, coupled with

Defendant driver's disregard for basic rules of the road, constituted gross negligence in that such acts

and/or omissions, when viewed from Defendant's standpoint, involved an extreme degree of risk to

drivers and travelers in Dallas County roads, including the risk of severe bodily injury and death to

the public, and Plaintiff. Moreover, Defendants had actual awareness that the above acts and/or

omissions were increasingly probable due to Defendant's inattention. Nonetheless, and despite

Defendant's actual subjective awareness of the risk his grossly negligent driving imposed upon other

drivers, travelers and the public in general, Defendant proceeded to drive in such grossly negligent

manner with in conscious and blunt disregard to the rights, safety and welfare of others.

Consequently, Plaintiff seeks exemplary damages and hereby gives notice to Defendants that he will

seek to prove the above allegations by clear and convincing evidence.


PLAINTIFF'S FIRST AMENDED PETITION AND REQUEST FOR DISCLOSURE-PA                                   Page 5
Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17                     Page 22 of 28 PageID 27




                                        XIII.
                      INJURIES - PRESENT AND FUTURE MEDICAL

        As a direct and proximate result of the negligent conduct of Defendants, Plaintiff

VIRGINIA GUADALUPE PORTILLO suffered severe and disabling injuries to her head, face,

neck, back, right shoulder, tricep, and left forearm. Plaintiff has suffered injuries and specifically

sues for the following legal damages:


       a.      Medical expenses in the past and future in excess of$41,828.09; and

       b.      Physical pain in the past and future; and

       c.      Mental anguish in the past and future; and

       d.      Physical impairment in the past and future; and

       e.      Past and future disfigurement; and

       f.      Lost wages/loss of earning capacity in the past and future; and

       g.      Special damages; and

       h.      Property damage and Loss of use

                                    XIV.
             PLAINTIFF'S REQUEST FOR DISCLOSURES TO DEFENDANT
       Plaintiff requests that Defendant disclose the infonnation and material described in TEX. R.

CIV. P. 194.2 (a) - (1). In addition to the materials requested in TEX. R. CIV. P. 194.2, Plaintiff

requests that Defendants disclose all documents, electronic infonnation, and tangible items that are

in Defendants possession, custody, or control and may use to support its claims or defenses.

Defendants responses shall be delivered to Plaintiffs attorney of record at 400 S. Zang Boulevard,

6 th Floor, Suite 600, Dallas, Texas 75208 within fifty (50) days from the date of service hereof.

Plaintiff also requests that Defendants supplement responses to this Request for Disclosure, as


PLAINTIFF'S FIRST AMENDED PETITION AND REQUEST FOR DISCLOSURE-PA                                 Page 6
Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17                      Page 23 of 28 PageID 28




provided by TEX. R. CIV. P. 192, 193, and 194.

                                           XV.
                               NOTICE OF USE OF DOCUMENTS

        Pursuant to Texas Rules of Civil Procedure 166a(d) and 193.7, Plaintiff hereby gives notice

to Defendants that she intends to use all discovery products, responses, and documents exchanged

and produced between the parties as summary judgment evidence, in any pretrial proceeding, and/or

at trial in this cause.

                                                 XVI.
                                              PRAYER

    WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that the Defendants be

cited to appear and answer herein, and that upon final trial, Plaintiff be awarded judgment against

the Defendants for the following:


        a.       Medical expenses in the past and future; and

        b.       Physical pain and suffering in the past and future; and

        c.       Mental anguish in the past and future; and

        d.       Physical impairment in the past and future; and

        e.       Property damage; and

        f.       Lost wages and loss of earning capacity in the past and future; and

        g.       Pre and post Judgment interest at the maximum legal rate; and

        h.       Costs of Court; and

        1.       Such other and further relief, at law or in equity, to which Intervenors may be justly

                 entitled.




PLAINTIFF'S FIRST AMENDED PETITION AND REQUEST FOR DISCLOSURE-PA                                  Page 7
Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17                   Page 24 of 28 PageID 29




                                     Respectfully Submitted,


                                     LAW OFFICES OF DOMINGO GARCIA, P.C.


                                     By:
                                             Domingo A. Garcia
                                             State Bar No. 07631950
                                             Paul Hornung
                                             State Bar No. 00795831
                                             E-Service: dallasoffice@dgley.com

                                      400 S. Zang Blvd.
                                      6th Floor Suite 600
                                      Dallas, Texas 75208
                                      Telephone: (214) 941-8300
                                      Facsimile:    (214) 943-7536

                                      ATTORNEYS FOR PLAINTIFFS




PLAINTIFF'S FIRST AMENDED PETITION AND REQUEST FOR DISCLOSURE-PA                      Page 8
                 Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17                                         Page 25 of 28 PageID 30




FORM NO. 353-3 - CITATION
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GREETINGS:
                                                                                                                         YmGINIA GUADALUPE PORTU.LO
                                                                                                                                           VS.
You have been sued You may employ an attorney. If you or your attorney do not file a written
                                                                                                                                WAYNE JONES, et al
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be
taken against you. Your answer should be addressed to the cleric of the 134th District Court at 600
                                                                                                                                   1s..~UED 11 US
Commerce Street. Ste. 101, Dallas, Texas 75202.
                                                                                                                             11th day ofSeptemiK-r. 2017
Said Plaintiff being YmGINIA GUADALUPE PORTILLO
                                                                                                                                  FELICIA PITRE
                                                                                                                                Clerk District~Col1rts.
Filed in said Court 7tb day of September, 2017 against
                                                                                                                                Dallas County, Texas
WAYNE JONES AND GUNTREN TRUCKING LLC

For Suit. said suit being nwnbered DC-17-11647, the nature of which demand is as follows:                                  By: CARMEN MOORER, Deputy
SUit on ~OTOR VEHICLE ACCIDENT etc. as shown on said petition REQUEST FOR
DISCLOSURE. a copy of which accompanies this citation. If this citation is not served, it shall be
                                                                                                                                Attorney for PlaintitJ
returned unexecuted.
                                                                                                                             PAUL ROBERT HORNUNG
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                            LAW OFFICES OF DOMINGO GARCIA
                                                                                                                                400 S ZANG BLVD
Given under my hand and the Seal of said Court at office this 11th day of September, 1Qh~1 11"'11.
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                              CARMEN MOORER                                    ~ .- ~.,....                ~ : ..- ~
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                                      RETURN OF SERVICE

                                    CAUSE NO. DC-17-11647

       STATE OF TEXAS
       COUNTY OF DALLAS
                I Todd E. Kettering make the following representations to the 134th District Court
       of Dallas County. I have personal knowledge of the facts and statements contained in
       this affidavit and each is true and correct

       1.      I an not less than 18 years of age
       2.      I will neither request the authority to nor will I serve any process in any case in
               which I am a party or have an interest in the outcome of the case.
       3.      I have never been convicted of a felony or misdemeanor involving moral
               turpitude in any state or federal jurisdiction.
       4.      I have studied and am familiar with the Texas Rules of Civil Procedure, Vernon's
               Civil Statutes, Civil Remedies Code and all other applicable rules and statutes
               relating to the service of citations and notices.

       CAME TO 'HAND ON THE 6th day of October 2017 at 2:00pm
       EXECUTED BY DELIVERING TO Wayne Jones by serving The Texas Transportation
       Commission
       AT 125 East 11th Street Austin, Texas 78701
       ON the 11th day of October 2017 at 7:00am
       TO THE WITHIN NAMED DEFENDANT A TRUE COPY OF THE Citation and
       Original Petition and Request for Disclosure, First Set of Written Discovery to Defendant
       and Notice of Intention to take Oral Deposition               ~

       Service $75.00                                      ~
                                                                Todd E. Ke ermg
       Total    $75.00                               Texas Supreme Court ID# 9681 exp.053118

       BEFORE ME, the undersigned Notary Public on the day personally appeared Todd E.
       Kettering, known to the person whose name is signed to the above affidavit and sworn to
       me that the representations in the above affidavit are true and correct.

       Given under my hand and seal of office this It:'(   rt day of ~/L                    2017

               ~ 7!~
"

                                                   Notary Public in Dallas County State of Texas



                                                       FRANK R CLABOUGH
                                                      My CommiSSion Expires
                                                         March 16, 201 B
              Case 3:17-cv-03069-C Document 1-1 Filed 11/07/17                            Page 27 of 28 PageID 32




Texas Transportation Commission
, E. 11th Street
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              Your Item was delivered at 7:00 am on October ii, 2017 In AUSTIN, 1)( 78714.



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           October 10, 2017, 9:02 am                         Available for Pickup                           AUSTIN, 1)( 78701



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